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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                Eastern Division

The Alternative Source Medical, LLC
                                                   Plaintiff,
v.                                                               Case No.: 1:18−cv−05941
                                                                 Honorable Robert M. Dow Jr.
Central Valley Specialty Hospital, Inc., et al.
                                                   Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, September 4, 2018:


        MINUTE entry before the Honorable Robert M. Dow, Jr: Initial status hearing is
set for 10/19/2018 at 9:00 a.m. and parties are to report the following: (1) Possibility of
settlement in the case; (2) If no possibility of settlement exists, the nature and length of
discovery necessary to get the case ready for trial. Plaintiff is to advise all other parties of
the courts action herein. Lead counsel is directed to appear at this status hearing. The
parties are requested to file a joint status report at least two days prior to the initial status.
For further details see the Court's website available at www.ilnd.uscourts.gov. Mailed
notice(cdh, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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criminal dockets of this District. If a minute order or other document is enclosed, please
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